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 7                         IN THE UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                  )
10                                              )    2:98-cr-0171-GEB
                              Plaintiff,        )
11                                              )    ORDER
          v.                                    )
12                                              )
     DANIEL GREGORY ROSEN,                      )
13                                              )
                              Defendant.        )
14                                              )
15                On August 24, 2006, Defendant Daniel Rosen filed a motion to
16   amend his Presentence Report (“PSR”) “to include a recommendation for
17   referral to the Bureau of Prison’s Comprehensive Residential Drug
18   Program . . . ,” and for “the Court [to] issue a recommendation to the
19   Bureau of Prisons that he participate in the program.”             (Def.’s Mot.
20   at 1.)     On September 14, 2006, the government filed an opposition to
21   the motion arguing, inter alia, it is untimely.
22                Rosen’s request to amend his PSR is untimely under Local
23   Rule 32-460(g), and I do not elect to make the recommendation he
24   seeks.     Therefore, the motion is denied.
25                IT IS SO ORDERED.
26   Dated:     September 20, 2006
27
                                           /s/ Garland E. Burrell, Jr.
28                                         GARLAND E. BURRELL, JR.
                                           United States District Judge
